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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )        Cr. No. 06-00080 SOM (02)
                              )
          Plaintiff,          )        ORDER DENYING DEFENDANT
                              )        RODNEY JOSEPH’S MOTION TO
     vs.                      )        STAY, VACATE, AND RECONSIDER
                              )        AMENDED ORDER FINDING WAIVER
RODNEY JOSEPH (02),           )        OF ATTORNEY-CLIENT PRIVILEGE
                              )
          Defendant.          )
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     ORDER DENYING DEFENDANT RODNEY JOSEPH’S MOTION TO STAY,
           VACATE, AND RECONSIDER AMENDED ORDER FINDING
                WAIVER OF ATTORNEY-CLIENT PRIVILEGE

          On June 24, 2013, Defendant Rodney Joseph filed a

motion seeking to stay an order that determined that he had

waived his attorney-client privilege by filing a motion under 28

U.S.C. § 2255 based on ineffective assistance of counsel.            See

ECF Nos. 1478 and 1497.    On July 8, 2013, the court amended that

order to correct a typographical error.        See ECF No. 1500.       The

court deems Joseph’s motion to apply to the Amended Order.

          Joseph argues that he should have been allowed to

respond to the Government’s motion seeking to waive his attorney-

client privilege and should have been allowed to file for a

protective order limiting any waiver.      To date, Joseph has not
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actually withdrawn his ineffective assistance of counsel claims

or identified how he would have wanted the order limited.

          The Ninth Circuit has stated, “It has long been the

rule in the federal courts that, where a habeas petitioner raises

a claim of ineffective assistance of counsel, he waives the

attorney-client privilege as to all communications with his

allegedly ineffective lawyer.”      Bittaker v. Woodford, 331 F.3d

715, 716 (9th Cir. 2001); accord Lambright v. Ryan, 698 F.3d 808,

813 (9th Cir. 2012).   The waiver, however, must be “no broader

than needed to ensure the fairness of the proceedings before it.”

Bittaker, 331 F.3d at 720.      Moreover, “the holder of the

privilege may preserve the confidentiality of the privileged

communications by choosing to abandon the claim that gives rise

to the waiver condition.”      Id. at 721.     “Finally, if a party

complies with the court’s conditions and turns over privileged

materials, it is entitled to rely on the contours of the waiver

the court imposes, so that it will not be unfairly surprised in

the future by learning that it actually waived more than it

bargained for in pressing its claims.”         Id.

          The Amended Order limited the waiver of the attorney-

client privilege to “all matters associated with Defendant’s

allegations in his motion to vacate, set aside, or correct

sentence.”   See ECF No. 1500, PageID # 15649.         This waiver was no

broader than necessary to be fair to the Government; it was


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limited to the bases of Joseph’s various ineffective assistance

of counsel claims.    Accordingly, the court properly determined

that Joseph had waived his attorney-client privilege.

          To date, Joseph has not withdrawn his ineffective

assistance of counsel claims.      Had he done so, the court would

have preserved his attorney-client privilege.         Nor has Joseph

identified how he would have wanted the order limited.           In the

court’s minute order of June 24, 2013, the court noted that, “If

Joseph seeks further limits, he may move for specific

limitations.”   See ECF No. 1496.       Having failed to identify any

possible limitation, Joseph cannot now claim that the court

improperly failed to limit the order.

          Based on the arguments raised in the present motion,

Joseph also seeks 1) to have the court waive the Government’s

attorney-client privilege, 2) to have the court reconsider its

order allowing his counsel to withdraw from being his attorney,

and 3) to have the court grant him bail.       The court declines to

provide such relief, as Joseph is not entitled to any relief

based on the arguments raised in the present motion.

          The court therefore denies all relief requested in

Joseph’s motion of June 24, 2013.       ECF No. 1497.




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             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, February 27, 2014.




                                         /s/ Susan Oki Mollway
                                        Susan Oki Mollway
                                        Chief United States District Judge



United States of America v. Motta, Crim. No. 06-00080-05; ORDER DENYING DEFENDANT
RODNEY JOSEPH'S MOTION TO STAY, VACATE, AND RECONSIDER AMENDED ORDER FINDING WAIVER OF
ATTORNEY-CLIENT PRIVILEGE




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